                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION
                               3:14-cr-262-MOC-1

UNITED STATES OF AMERICA,              )
                                       )
            vs.                        )
                                       )                           ORDER
DAVONTE ANTONIO SMITH,                 )
                                       )
                  Defendant.           )
_______________________________________)

      THIS MATTER is before the Court on defendant’s pro se Motion for Compassionate

Release/Reduction of Sentence, (Doc. No. 38).

                                          ORDER

       IT IS, THEREFORE, ORDERED that within 20 days the Government shall file a

response to defendant’s motion.



                                                Signed: November 5, 2020




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